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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ROADSYNC, INC.,

              Plaintiff,

              v.

 RELAY PAYMENTS, INC.,                      Case No. 1:21-CV-03420-MLB
 SPENCER BARKOFF,
 JAMES RYAN DROEGE,
 and DOES 1-10,

              Defendants.


               CERTIFICATE OF CONSENT TO WITHDRAW
                     AND SUBSTITUTE COUNSEL

       Pursuant to Local Rule 83.1(E)(3), Plaintiff RoadSync, Inc. (“RoadSync”)

gives notice that Jonathan R. Friedman and Jennifer A. Adler of the law firm of

Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC hereby withdraw as counsel for

RoadSync. In their place, Frank M. Lowrey IV and Benjamin E. Fox of the law firm

of Bondurant, Mixson & Elmore, LLP are substituted as counsel of record for

Plaintiff. RoadSync consents to this withdrawal and substitution and certifies that it

has been advised of the items set forth in Local Rule 83.1(E)(2)(B) through (H).

       As such, RoadSync requests that Frank M. Lowrey IV and Benjamin E. Fox

be substituted as counsel of record for Plaintiff and be added as recipient for service

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of all pleadings, notices, orders, correspondence, and any other materials involved

in this action, including notices sent via the Court’s CM/ECF system at the following

addresses:

 Frank M. Lowrey IV                            Benjamin E. Fox
 Bondurant, Mixson & Elmore, LLP               Bondurant, Mixson & Elmore, LLP
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 Tel: 404-881-4118                             Tel: 404-881-4117
 lowrey@bmelaw.com                             fox@bmelaw.com

        RoadSync also requests that Jonathan R. Friedman and Jennifer A. Adler of

the law firm of Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC be relieved of all

further obligations with respect to the representation of Plaintiff in this action,

including relief from receiving further CM/ECF notices in this action.

       Respectfully submitted this 16th day of September, 2022.

 /s/ Frank M. Lowrey IV                          /s/ Jonathan R. Friedman
 Frank M. Lowrey IV                              Jonathan R. Friedman
 Georgia Bar No. 410310                          jfriedman@wwhgd.com
 lowrey@bmelaw.com                               Jennifer A. Adler
 /s/ Benjamin E. Fox                             jadler@wwhgd.com
 Benjamin E. Fox                                 WEINBERG WHEELER HUDGINS GUNN
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ATTORNEYS FOR PLAINTIFF ROADSYNC, INC.




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                          CERTIFICATE OF SERVICE

       I hereby certify that on this day, I electronically filed the foregoing

CERTIFICATE OF CONSENT TO WITHDRAW AND SUBSTITUTE

COUNSEL, which has been prepared using 14-point Times New Roman font, with

the Clerk of Court using the CM/ECF system, which will automatically send e-mail

notification of such filing to counsel of record.

       This 16th day of September, 2022.


                                        /s/ Frank M. Lowrey IV
                                        Frank M. Lowrey IV

                                        ATTORNEY FOR PLAINTIFF ROADSYNC, INC.




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